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UNITED sTATEs DISTRICT coURT 0 "` 'Q
wEs'rERN DISTRICT oF TENNEssEE 5 AUG 30 PH 5'
wEsTERN DIvIsIoN ‘03
' ‘ M
‘3* f MPHS
ARTIS REESE, a/k/a
RAY CURTIS sMITH,
Plaintiff,
v. Cv. NQ. 05-2272-Ma
SHELBY COUNTY, et al.,
Defendants.
J'U'DGMENT
Decision by Court. This action came for consideration

before the Court. The issues have been duly considered and a
decision has been rendered.

IT IS ORDERED AND ADJUDGED that this action is dismissed
in accordance with the Order of Dismissal, docketed August 26,
2005. Any appeal in this matter by Plaintiff, proceeding in
forma gaugeris, is not taken in good faith.

AJIPIUDVUFEL:7‘<// ”1 z

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

A~.>~\J‘L 1411-of THOMASM.GOULD

 

 

 

DATE CLERK

   

(By) PUTY CLERK

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-02272 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

Artis Reese

SHELBY COUNTY JAIL
RNI # 291

201 Poplar Avenue
Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

